    Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 1 of 45 PageID #:1


                                                                                            4
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS              RECEIVED
                                                                         sEP   - ltUAw
SECURITIES AND EXCHANGE                     CASE NO.:                  THOMASG. BRUTON
COMMISSION,                                                        CLERK, U.S. DISTRICT COURT


     Plaintiff,


I GLOBAL CAPITAL LLC, and
CARL RUDERMAN,

     Defendants, and
                                         1:18-cv{6029
1WEST CAPITAL LLC,                       Judge Charles R. Norgle, Sr-
BRIGHT SMILE FINANCING, LLC,
BRR BLOCK INC.,
                                         Magiskate Judge JeffieY Cole
DIGI SOUTH, LLC,
GANADOR ENTERPRISES, LLC,
MEDIA PAY LLC,
PAY NOW DIRECT LLC, and
RUDERMAN FAMILY TRUST,

     Relief Defendants.
                                I


                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA


SECURITIES AND EXCHANGE
COMMISSION,                                       CASE NO.   0:   18-CV-61991-BB

     Plaintiff,


I GLOBAL CAPITAL LLC, and
CARL RUDERMAN,

     Defendants, and

1WEST CAPITAL LLC,
BRIGHT SMILE FINANCING, LLC,
BRR BLOCK INC.,
        Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 2 of 45 PageID #:2




                                UNITED STATES DISTIIICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 0: l8-cv-61 991-BB



 SECURITIES AND BXCHANGE COMMISSION,

                   Plaintiff,


 I GLOBAL CAPITAL LLC, and
 CARL RUDERMAN,

                   Defendants, and

I WEST CAPITAL LLC,
BRIGHT SMILE FINANCING, LLC,
BRR BLOCK INC.,
DIGI SOUTH, LLC,
GANADOR ENTERPRISES, LLC,
MEDIA PAY LLC,
PAY NOW DIRECT LLC, and
RI]DERMAN FAMILY TRUST,

                   Relief Defendants.



          SEALBD ORDER GRANTtr.{G PLAINTIFF SECURITIES AND EXCHANGE
            MISSION'S E        CY EX PARru'MOTION FOR APPOI
                                   RECEIVER

           WHEREAS Plaintiff Securities and Exchange Commissiorr has flled a rrotion lor                 the

appointment of a Receiver over Relief Defendants Bright Snrile Financin-q. t-1.C. BI{R Block

Inc.. Digi South, LLC, Ganador Enterprises. LLC. Media Pay LL-C. and               Pa-r,   Nqu, Direcr Ll-C.

(collectively, "Relief Defendants") witlr       full and   exclusive pou,er. rlutr. alrd aulhoritl,, to:

adnlinister and tnanage the business affairs. fLrnds- assets. carrses in aclion nncl anv other propeny

olthese Relief Defendants; marshal ancl saf'esLrard all ot-their assels:    ancJ   take rr,hatcvcr actions

are-   necessar)'tbr the protection of the investors (''Motion lbr Appoilttrnent ol'Rcceiver"):
        Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 3 of 45 PageID #:3
,

                                                                               CASE NO. 0: I 8-cv-61991-BR


             WHEREAS, tlre Comnrission has made a sulflcient and proper shorving in support of the

     relief requested;

             WHEREAS, the Cornmission has submitted the credenlials                     of a candidate to be
     appointed as Receiver of all of the assets, properties, books and records. and other items of these

     Relief Defendants, including any properties, assets and otlrer itenrs held in their names or their

    principals'names, and the Commission has advised the Court that this canclidate is prepared to

    assume this responsibility   if   so ordered by the Courl;

            The Motion for Appointment of Receiver, ECF No. [6], is GRANTED IN PART, and

    DENIED IN PART, and it is ORDERED AND ADJUDGED as fbllows: Jon A. Sale, Netson

    Mullins Broad and Cassel, 2 South Biscayne Boulevard, One Biscayne Tower, 2l't Floor,

    Miami, Florida 33131, 305-373-9400, jon.sale@nelsonmullins.com is appointed the Receiver

    over these Relief Defendants, their subsidiaries, successors and assigns, and is hereby authorized,

    empowered, and directed to:

            1.      Take immediate possession of all property, assets and estates of every kind of

    these Relief Defendants, whatsoever and where ever located belonging to or in the possession             of
    these Relief Defendants, including but        not limited to all offices rnainlained by these Relief

    Defendants, rights   of action, books,     papers, data processing recorcls. evidences       of debt, bank
    accotlnls, savings accounts, certificates of deposit. stocks- boncls. debentures and other securities,

    mortgages, furniture, fixtures, office supplies and equipment. and all real property of these Relief

    Defbndants wherever situated, and to adlninisler such assets as is requirecl in orcler ro comply

    rvith the directions contained in this Order.    an<J   lo holcl all other assers pencling tirrther order of

    this Courtl
    Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 4 of 45 PageID #:4


                                                                          CASE NO. 0: I 8-cv-61991-BB


         2.       Investigate the rnanner    in which the allhirs o1-rhese Relief Defendants were
 conducted and institute such actions and legal proceeclings, fbr tlre belel-ir and on behalf of these

 Relief Defendants and their investors and olher creditors- as the Receiver deems necessary

 against those individuals, corporations, pannerships. associations ancl/or unincorporated

 organizations, which the Receiver may clairn have wrongfirlly. illegally or otherwise improperly

 misappropriated or transferred money or olher proceeds directll,or indirectly traceable from

 investors in Defendant     I Global   Capital LLC, and Relief Def'en<Jarrt      I   West Capital LLC, and

these   Relief   Defendants, their officers, directors. employees. affiliares, subsidiaries,        or   any

persons acting in concert or participation     with them. or against any transfers of money or other

proceeds directly      or indirectly traceable from inveslors in   I   Global,   I   West, and these Relief

Defendants; provided such actions may include, but not be Iimited to, seeking imposition                  of
constructive trusts, disgorgement of profits, recovery and/or avoidance of fraudulent transfers

underFlorida Statute 5726.101, et. seq. orotherwise, rescission and restitution, the collection of

debts, and such orders from this Court as may be necessary to enforce this Order;

        3.       Present to this Couft periodic reports (no less than quarterly) reflecting the

existence and value of the assets of these Relief Defendanrs and of rhe extent of liabilities,
                                                                                               both

those claimed to exist by others and those the Receiver believes to be legal obligations of these

Relief Defendants;

        4.       Appoint one or nrore special agents. enrplov legal coLrnsel- actuaries, accountants,

clerks, consultants and assistants as tlre I{eceiver cleenrs necessAr,\, and to          fix and pay their
reasonable compensation and reasonable expelrses. as rvell as all reasonable expenses of taking

possession    of the   assets and business ot- these   Relief Delbndants. and exercising the power
    Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 5 of 45 PageID #:5


                                                                     CASE NO. 0: I 8-cv-61 991-BB


 granted by         Order. subject to approval by this Courr.            includes a management or

 restructuring company or companies:

          5'     Engage persons in the Receiver's discretion to assist the Receiver in carrying out

the Receiver's duties and responsibilities. including, but not limited to, the United          States

Marshal's Service or a private security firm;

          6.     Defend, compromise or settle legal actions. including the instant proceeding,

which these Relief Defendants or the Receiver are a party, commenced either prior to or

subsequent to this   Order. The Receiver may also waive any attorney-client or other privilege

held by these Relief Defendants;

         7   -   Assume control of, and be named as authorized signatory for, all accounts at any

bank, brokerage firm or financial institution which has possession, custody or control of any

assets   or funds, wherever situated, of these Relief Defendanrs and, upon order of this Court, of

any of their subsidiaries or affiliates, provided that the Receiver deems it necessary;

         8.      Make or authorize such payments and disbursements from the funds and         assets

taken into control, or thereafter received by the Receiver, and incur, or authorize the incurrence

of, such expenses and make, or authorize the making ol,     sLrch agreements as   may be reasonable,

necessary, and advisable in discharging the Receiver's duties:

         9.      Have access to and review all nrail of these Relief Defendants (except for mail

that appears on its face to be purely personal or attorney-client privileged) received at any office

or address of these Relief Defendants.      All mail   rhar is opened by the Receiver and, upon

inspection, is determined by the Receiver    to bc personal or attorney-client privileged, shall   be

promptly delivered to the addressee and the Receiver shall not retain anli copy.
    Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 6 of 45 PageID #:6


                                                                     CASE NO. 0: I 8-cv-61991-BB


        IT IS FURTHER         ORDERED AND AD.IUDGED that, in connection with                       the

appointment of the Receiver provided fbr above:

        10.     These Relief Defendanls and     all of'their directors, olficers, agents,   employees,

attorneys, attorneys-in-fact. shareholders. and other persons who are in custody, possession, or

control of any assets, books, records, or otlrer propemy ol these Relief Defendants shall deliver

forthwith upon demand such propefiy, monies. books and records to the Receiver, and shall

forthwith grant to the Receiver authorizalion to be a si,enatory as to all accounts at banks,

brokerage firms or financial institutions which have possession, custody or control of any assets

or funds in the name of or for the benefit of these Relief Defendants;

        I   1. All banks,   brokerage firms, financial institutions, and other business entities

which have possession, custody or control of any assets, funds or accounts in the name of, or for

the benefit of, these Relief Defendants shall cooperate expeditiously in the granting of control

and authorization as a necessary signatory as to said assets and accounts to the Receiver;

        12.     Unless authorized by the Receiver, these Relief Defendants and their principals

shall take no action, nor purport to take any action, in the name of or on behalf of these Relief

Defendants;

       13.      The Receiver further is authorized to take depositions, subpoena records,         and

other discovery. The Relief Defendants and their principals. and respective officers, agents,

employees, attorneys, and atlorneys-in-fact shall take no aclion, directly or indirectly, to hinder,

obstruct, or otherwise interf-ere rvith the Recciver in tlre conduct of the Receiver's duties or to

interfere in any ntanner. directly or indirectlv. u,ith the custody. possession, management, or

control by the Receiverofthe lirnds. assets. prerniscs. and choses in action described above;
    Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 7 of 45 PageID #:7


                                                                      CASE NO. 0: l8-cv-61991-BB


        14.     The Receiver. and an)i counsel lvhonr tlie Receiver may select, are entitled to

reasonable compensation fiom the assets norv held by or in the possession or control of or which

nray be received by these Relief Delbndanls: said amount or amounts of compensation shall be

commensurate with their duties and obligations under the circumstances, subject to approval         of
the Court. The Receiver and his counsel shall file with the Court no less than quarterly an

application for reasonable compensation and provide to the Commission and the Court a copy          of
the Commission's Standard Fund AccoLrnting Report;

        15.     During the period of this receivership. all persons, including creditors, banks,

investors, or others, with actual notice of this Order, other than the Receiver, are enjoined from

filing a petition for relief under the United States Bankruptcy Code without prior permission

from this Court, or from in any way disturbing the assets or proceeds of the receivership or from

prosecuting any actions or proceedings which involve the Receiver or which affect the property

of these Relief Defendants;

        16.     The Receiver is fully authorized to proceed with any filing the Receiver may

deem appropriate under the Bankruptcy Code as ro these Relief Defendants;

        17.     Title to all property, real or personal. all contracts, rights of action and all books

and records of these Relief Defbndants and their principals, wherever located within or without

this state, is vested by operation of larv in the Receiver;

        18.     Upon request b,v tlre Receiver. an); company providing telephone services to these

Relief Defendants shall provide a ref-erence ol-calls ll-orn anv number presently assigned to these

Relief Deferrdants to anv such number desiqnated by'the Receiver or perfbrm any other changes

necessary to the condrrct   olthe receivership:
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 8 of 45 PageID #:8


                                                                             CASE NO. 0: l8-cv-61991-BB


         19.      Arry errtitl, lirmishiug walcr. e lectric. telephone. sewage, garbage or trash rerroval

services to these Relief Defendants slrall rnaintain suclr service and transfer any such accounts to

the Receiver unless instructed to the contrary by the Receiver;

        20.       The United States Postal Service is directed to provide any information requested

by the Receiver regarding these Relief Del'endants, and to handle future deliveries of the mail         of

these Relief Defendants as directed bv the Receiver:

        21.       No bank. savings and loan associalion, other financial institution, or any other

person or entity shall exercise any lbrnr of set-off, alleged set-off, lien, or any form of self-help

whatsoever, or refuse to transfer any firnds or assets of these Relief Defendants to the Receiver's

control without the permission of this Court;

        22.       No bond shall be required in connection with the appointment of the Receiver.

Except for an act of gross negligence or greater, the Receiver shall not be liable for any loss or

damage incurred by these Relief Defendants or by the Receiver's officers, agents or employees,

or any other person, by reason of any act performed or omitted to be performed by the Receiver

in connection with the disclrarge of the Receiver's duties and responsibilities;

        23.       Service of this Order shall be sufficient     if   made upon these Relief Defendants and

their principals by personal service. lhcsirnile or overnight courier;

        24.       In the event that the Receiver discovers that investor funds received by           these

Relief Defbndants have been translerred lo olher persons or entities, the Receiver shall apply to

this Court for an Order -uivine the Ileceiver possession of such funds and, if the Receiver deems

it advisable.   extendin-sr   this receiverslrip over any person or entity holding such investor funds;

and

        25.      -fhis
                         Court shall rctain.iuriscliction of tlris matter fbr all purposes.
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 9 of 45 PageID #:9


                                                                 CASE NO. 0: I 8-cv-61991-BB


           DONE AND OIIDEIIED in charnbers in Miami, Florida this 23rd day of August, 2018.




                                        BETH BLOOM
                                        UNITED STATES DISTRICT JUDGE

Copies to:

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Jon.sa le@nelson   rrr   rrllins.corn
Receiver
    Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 10 of 45 PageID #:10




DIGI SOUTH, LLC,
GANADOR ENTERPRISES, LLC,
MEDIA PAY LLC,
PAY NOW DIRECT LLC, and
RUDERMAN FAMILY TRUST,

       Relief Defendants.


                        RECEIVER'S NOTICE OF FILING
               COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF ANd
            ORDER GRANTING MOTION FOR APPOINTMENT OF RECEIVER

       PLEASE TAKE NOTICE that the Court-Appointed Receiver, Jon                 A.   Sale, not

individually, but solely in his capacity as Receiver for Bright Smile Financing, LLC; BRR Block

Inc.; Digi South LLC; Ganador Enterprises, LLC; Media Pay LLC; and Pay Now Direct LLC,

hereby gives notice of filing the Plaintiff Securities and Exchange Commission's Complaint for

Injunctive and Other Reliel and Order Granting Emergency Ex Parte Motion for Appointment of

Receiver.

       Respectfully submitted this lst day of September, 2018.

                                            Respectfully submitted,

                                            NELSON MULLINS BROAD AND CASSEL
                                            Attorneys for Receiver
                                            One Biscayne Tower, 2l't Floor
                                            2 S. Biscayne Boulevard
                                            Miami, FL 33131
                                            Telephone: 305.373.9400
                                            Facsimile: 305.995.6449




                                                   Florida Bar No. 0962767
                                                   Gary M. Freedman
                                                   Florida Bar No. 727260
                                                   Jonathan Etra
                                                   Florida Bar No. 0686905
                                                   Michael Lessne
                                                   Florida Bar No. 73881
        Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 11 of 45 PageID #:11

Case 0:l-8-cv-61991--BB *SEALED* Document 1 Entered on FLSD Docket OBl23l2O1B Page                            1-
                                        of 34

                                                                                  FILED   By   lU-                 D.C'.
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA                                AUG 2   3    2018
                                                                                       STEVEN tvt LAHTMORF
                                              CASE NO.                                  CLERK U S, DIST CT-


   SECURITIES AND EXCHANGE COMMISSION,

                  Plaintift
   v.

   I GLOBAL CAPITAL LLC, and
   CARL RUDERMAN,
                                                              UNDER SEAL
                  Defendants, and

   I WEST CAPITAL LLC,
   tsRIGHT SMILE F'INANCING, LLC,
   BRR BLOCK INC.,
   DIGI SOUTH LLC,
   GANADOR ENTERPRISES, LLC,
   MEDIA PAY LLC,
   PAY NOW DIR-ECT LLC, and
   RUDERMAN FAMILY TRUST,

                  Relief Defendants.


                    COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

           Plaintiff Securities and Exchange Commission alleges   as   follows:

                                       I.   INTRODUCTION

           l.     The Commission brings this action as the result of a four-year-long unregistered

  securities offering fraud conducted   by Defendant I Global Capital LLC, and        overseen by

  Defendant Carl Ruderman, that victimized thousands     of investors nationwide, many of whom

  usedtheirretirementsavingstoinvest. FromnolaterthanFebruary20l4until July27,20l8,                I


  Global (also referred to as "the Company"), d private, South Florida f-rrm, fraudulently raised

  more than $287 million from more than 3,400 investors to fund its business of offering short-

  term financing to small and medium-sized businesses.
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 12 of 45 PageID #:12

Case 0:18-cv-61991-BB *SEALED* Document 1 Entered on FLSD Docket OBl23l2O1B Page 2
                                      of 34



             2.    I Globalused a network of baned brokers, registered and unregistered investment

   advisers, and other sales agents   - to whom they paid millions in commissions -     to offer and sell

   unregistered securities   to investors in no fewer than 25 states. The Company, through            its

   marketing materials distributed     to   sales agents and   the sales agents themselves,    promised

   investors a high-return, low-risk investment    in which 1 Global would use investor money to

   make short-term cash advances called Merchant Cash Advances ("MCAs") to businesses that

   could not obtain more traditional financing such as bank loans. The Company touted a rigorous

   underwriting process through which       it purportedly   approved only one   in ten merchants   who

   applied for a loan, and an electronic collection process that would allow investors to make a

   profit.

             3.   In reality, the Company used substantial investor funds for       purposes other than

   the cash advances, including paying operating expenses and purchasing already-distressed, long-

   term credit card debt. In addition,   I Global and Ruderman misappropriated      at least $35 million

   of investor money, at   least $28 million    of which was paid:     (l) directly to Ruderman, Relief
   Defendant Ruderman Family Trust, and other entities he owned or controlled; (2) to companies

   owned or operated by Ruderman's relatives and acquaintances that had nothing to do            with   I


   Global's cash advance business; and (3) to fund Ruderman's lavish expenses such as a luxury

   vacation to Greece and monthly payrnents fbr his Mercedes Benz.

             4.   I   Global and its sales representatives also made numerous other ma(erial

   misrepresentations and omissions to investors, including:    (l)   deceptively claiming the Company

   would only use investor money to fund MCAs; (2) falsely representing the amount of investor

   money the Company would take for its own use; (3) sending monthly account statements to

   investors that falsely represented their portfolio balances. rates of return, and the amount of their
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 13 of 45 PageID #:13

Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OB|23|ZOLB Page 3
                                      ot 34



   cash   I   Global had in the bank to fund merchant loans; and (a) falsely representing the Company

   had an independent auditor that had endorsed certain aspects of the Company's business model.

              5.     Largely as a result of     I   Global and Ruderman's misappropriation and improper

   use   of investor funds, by no later than October 2017          1   Global experienced a shortage of investor

   funds approximating $23 million that should have been                  in the Company's bank accounts and

   available for merchant loans. This shortfall continued and increased with time, so that by June

   30,2018, 1 Global's financial records showed approximately $50 million in missing investor

   funds.

              6.     Less than a month later,       I   Global and a sister company, Relief Defendant    I   West

   Capital LLC (which      I   Global used to make merchant loans in California), filed for Chapter l1

   bankruptcy protection, placing investors at risk of losing significant funds. An independent

   management team is now operating           I Global and 1 West.

              7.     Ruderman founded     I   Global, was its chairman, and lunctioned for the entirety of

   its operations as its Chief Executive Officer. He maintained sole operational control over the

   Company, closely monitored its fundraising from investors and the merchant loan process, and

   made all key management decisions. Although Ruderman is no longer associated with 1 Global,

   he continues to control or have access to entities that received misappropriated investor funds

   from 1 Global.

              8.     Through their conduct, 1 Global and Ruderman violated Sections 5(a) and (c) and

   Section 17(a) of the Securities Act    of 1933         ("Securities   Act"), l5 U.S.C. $$ 77e(a) and (c) and

   77q(a), and Sections 10(b) and 15(a)(l) and Rule 10b-5 of the Securities Exchange Act                of   1934

   ("E.xchange     Act"), 15 U.S.C. $78j(b) and 78o(a)(1) and l7 C.F.R. $240.10b-5. Additionally,

   Ruderman aided and abetted 1 Global's violations                 of Section lO(b) and Rule l0b-5 of        the
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 14 of 45 PageID #:14

Case 0:18-cv-61991-BB *SEALED* Document 1 Entered on FLSD Docket OB|23|ZALB Page 4
                                      ot 34



   Exchange      Act. As 1 Global's control      person, due   to 1 Global violations of Section 10(b)    and

   Rule 10b-5 of the Exchange Act, Ruderman also violated Section 20(a) of the Exchange Act, l5

   U.S.C. $78t(a). The Commission seeks injunctive relief, disgorgement and prejudgment interest,

   and   civil penalties against both Defendants, and disgorgement and prejudgment interest against

   the Relief Defendants. Simultaneously with filing this Complaint, the Commission also seeks

   emergency relief, including the appointment of a Receiver over certain Relief Defendants and an

   asset freeze against Ruderman and certain Relief Defendants.

                           II.   DEFENDANTS AND RELIEF DEFENDANTS

                                                  A. Defendants
           9.       1 Global is a Florida limited liability company          headquartered   in   Hallandale

   Beach and formed       in 2013.       Corporate records show the Company is owned entirely by the

   Ruderman Family       Trust. Until July 27, 2018, Ruderman was its Chairman and CEO.                   The

   Company had about 100 employees at the time              it filed for bankruptcy.   The Company never

   registered any of its securities with the Commission and did not have any publicly traded stock.

           10.      Ruderman,     77 ,   is a resident of Aventura, Florida, and the sole owner   of I Global

   through the Ruderman Family Trust. Until July 27,2018, when he resigned from               I    Global, he

   was   I Global's Chairman     and   CEO. He controlled all aspects of the Company's operations until

   he resigned. Ruderman continues to have ownership interests in Relief Defendants Bright Smile

   Financing, LLC, and Ganador Enterprises, LLC through Trusts that he controls. As part of the

   Commission's investigation into this matter, the staff subpoenaed Ruderman                     for   sworn

   testimony, but he refused to appear.

                                              B. ReliefDefendants

           ll.      I   West is a Florida limited liability company formed in April 2014                  and
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 15 of 45 PageID #:15
Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OBl23l2O18 Page 5
                                      of 34



   headquartered at     I Global's Hallandale       Beach address. It is also owned by the Ruderman Family

   Trust. Corporate records list         I   Global's former operations manager as its manager. 1 West

   operated as   I   Global's agent in California to solicit and enter into contracts with merchants, and

   received approximately $50        million in investor funds from        I Global. I    West also filed for

   Chapter I I bankruptcy protection on July 27, 2018, and is now under the control of the same

   independent management as         I   Global.

           12.       Bright Snrile Financing is a Florida limited liability company formed in March

   2017. Bright Smile Financing loans individuals money to finance cosmetic or dental procedures.

   Corporate records show Bright Smile Financing used the same address as               I Global and is 100%
   owned by Ruderman through the Bright Smile Trust, that Ruderman controls. Up until a few

   days ago, Bright Smile Financing used             I   Global's former operations manager as its manager.

   From May 16,2017 through June 2018, Bright Smile Financing received approximately $15.3

   million in investor funds from            I   Global at Ruderman's direction for no consideration or

   legitimate services.

           13.       Ganador Enterprises is a Florida limited liability company formed on March 3,

   2016. Corporate records show the Ruderman Family Trust owns                  50Yo   of Ganador, with two

   other individuals who are unrelated to          I Global owning the other 50o/o.   Ganador lists   I Global's
   former chief operating officer and Ruderman's brother-in-law as its manager. Ganador makes

   individual consumer loans, including payday loans. Ganador uses the same address as I Global.

   From April 28,2016 through June 2018, Ganador received approximately $5.6 million in

   investor funds fiom    I Global   at Ruderman's direction for no consideration or legitimate services.

          14.        BRR Block Inc. is a Florida corporation based in Boca Raton and incorporated in

  January 2018. Corporate records show one of Ruderman's sons is BRR Block's sole officer and
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 16 of 45 PageID #:16
Case 0:l-8-cv-61-991-BB *SEALED* Document 1 Entered on FLSD Docket OBl23l2O18 Page 6
                                        of 34



   director. Its business is purportedly related to blockchain technology. In January l6 2018, BRR

   Block received at least Sl million in investor funds from           I   Global for no consideration or

   legitimate services.

           15.     Digi South, LLC is a Florida limited liability company formed in November

   2012. Digi South is owned by the Ruderman Family Trust and uses the same address as                   I

   Global. Corporate records show that until 2017, its manager was Ruderman's sister-inlaw.

   Since 2017, the company has listed           I   Global's former operations manager as its manager.

   Among other things, Digi South used to own Playgirl and other aduhmagazines. Through April

   2018, Digi South received approximately $805,000 in investor funds from               I   Global for no

   consideration or legitimate services.

           16.     Media Pay LLC is a Florida limited liability company based in North Miami,

   Florida and formed     in   January 2015 and administratively dissolved           in September   2016.

   Corporate records show its manager is Ruderman's sister-in-law. Through             April 2018, Media

   Pay received approximately $647,000      in investor funds from     I   Global for no consideration or

   legitimate services.

           17.     Pay Now Direct   LLC is a Florida limited liability company formed in April       2015

   that was administratively dissolved     in   September    2017. The entity listed 1 Global's former
   operations manager as its manager. Pay Now Direct is an entity Ruderman uses to pay his

   expenses, and   it uses the same address as I Global.          Through June 2018, Pay Now Direct

   received approximately $5.3 million in investor funds       fiom I Global and the Ruderman Family

   Trust for no consideration or legitimate services.

          18.      The Ruderman Family Trust is a Florida trust instrument dated June 2, 2014,               .


   created to administer certain Ruderman assets. Ruderman is the grantor, his brother-in-law is the
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 17 of 45 PageID #:17

Case 0:18-cv-61991--BB *SEALED* Document 1 Entered on FLSD Docket OB|Z3|2OLB Page 7
                                       of 34



   trustee, and Ruderman's wife and children are the beneficiaries. Through        April 2018, the Trust

   received approximately $4 million in investor funds from          I   Global for no consideration or

   legitimate services.

                                   III.   JURISDICTION AND VENUE

           19.     The Court has jurisdiction over this action pursuant to Sections 20(b),20(d), and

   22(a)of the SecuritiesAct, l5U.S.C. $$77t(b),77t(d),and77v(a),and Sections2l(d),21(e),and

   27 of the Exchange Act,    l5 U.S.C. gg7Su(d),78u(e), and 78aa.

           20.     This Court has personal jurisdiction over the Defendants and Relief Defendants

   and venue is proper in the Southern District of Florida as Ruderman resides in the District and I

   Global and all of the Relief Defendants used addresses in this District and conducted their

   business   in this District. In particular,   I   Global's operations were located in the Southem

   District, and Ruderman and other Company officers conducted, supervised, and managed all

   aspects   of 1 Global's     fundraising and MCA business         at I   Global's Hallandale   Beach

   headquarters.

          21. The Defendants, directly and indirectly, made use of the means and
   instrumentalities   of interstate commerce, and the mails, in connection with the acts, practices,

   and courses of business set forth in this Complaint.

                   IV. 1 GLOBAL'S MERCHANT               CASH ADVANCE BUSINESS

          22.      Ruderman founded        1 Global in 2013, purponedly seeking "a better growlh
  opportunity for his family's funds." By 2018, the Company had grown to more than 100

  employees in sales, underwriting, collections, finance, technology and lawyers.

          23.      Ruderman was a hands-on Chairman and CEO, personally overseeing all aspects

  of the Company's operations. There was no board of directors or:rny other high-level executive
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 18 of 45 PageID #:18

Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OBlz3l2OtB Page                                B
                                      of 34



   with decision-making authority. Ruderman knew at all times how much                 I   Global had raised

   from investors and received a daily report showing how many cash advance transactions the

   Company had funded. Ruderman signed             I   Global's agreements with third-party sales agents to

   allow them to offer and sell    I   Global's unregistered securities. He thus was responsible for the

   terms of those agreements, which specified the sales agents' compensation and required           I   Global

   to approve all marketing materials and sales brochures the agents used.

          24.       Ruderman also personally directed or approved             all of the Company's      major

   transactions, including an approximate $40 million loan to a Califomia automotive firm and the

   $50 million purchase of distressed credit card debt, the latter of which was not an allowed use          of

   investor funds. He carefully monitored account statements the Company sent to investors each

   month, approved sending them, and knew they contained false statements about the value of

   investors'portlblios and rates of return. He directed bad debt reserve amounts, ordered investor

   funds sent to himself and companies his family owned, and told one employee who questioned

   those transactions it was his company and he could do what he wanted with investor money.

          25.      In fact, Ruderman was so involved in the Company that he bragged in an email to

   an executive   of a hedge fund that gave I Global a line of credit in 2016 "l'm personally on top of

   all operations from 8am thru 6:30pm everyday!"

          26.      Until it   ceased operations    on July 27,2018,      I   Global was in the business of

  funding MCAs         - short-term loans to small and medium-sized businesses.            According to its

  marketing materials and website,       I   Global provided these businesses with an alternative source

  of funding to traditional bank loans and other financing methods, which it touted as insufficient

  to meet the short-term needs of smaller businesses.

         27   .    I   Global contracted with 100 to 200 third-party vendors to find merchants
        Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 19 of 45 PageID #:19
Case 0:18-cv-61991--BB *SEALED* Document l- Entered on FLSD Docket OBl23l2O18 Page 9
                                       ot 34



   interested in applying for cash advances.      I   Global paid those companies a finder's fee for each

   merchant who received a cash advance. The amount of each finder's fee varied, depending on

   the loan amount, the third party's track record with          I   Global, and other factors.   I   Global

   determined the amount of the finder's fee in each instance. Through           April 2018, I Global paid

   third parties who solicited merchants approximately $15 million in finder's fees for their efforts.

            28.    Once a finder located an interested merchant, the merchant would apply directly

   to   I Global for a cash advance.    In marketing materials 1 Global sent to sales agents to use in

   soliciting investors, 1 Global touted a comprehensive underwriting process and stressed that it

   only approved loans to one out of every ten merchants who applied.

            29.    The Company indicated in its marketing materials that             it   used a variety of

   methods to weed out risky loan candidates, including internet research, credit checks, specific

   programs   for background checks and business analysis, a review of bank records and other

   documents, and, most importantly, personal contact with every merchant before the Company

   made an advance.

           30.    The Company's materials also reported that            I   Global's MCAs were typically

   small, averaging $68,000. The typical repayment term was anywhere from four months to one

   year. The MCAs were purportedly made against a business' future cash receivables,                    and

  merchants agreed to make daily payments             via electronic (ACH) debiting from their business

  operating bank accounts as they received payments from their customers or vendors.

           31.    1   Global's materials also touted a consistently low default rate, specifically stating

  that its average annual loan write-off rate was only 4o/o. ln addition, the Company told investors

  and others that approximately 30% of the merchants it loaned money to refinanced their loans.

           32.    In reality, the Company's MCA process was not nearly so rigorous and its cash
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 20 of 45 PageID #:20

Case 0:18-cv-6199L-BB *SEALED* Document 1- Entered on FLSD Docket 0812312018 Page 10
                                       of 34



    advance business functioned much          differently. In contrast to its claim that its average   loan

    amount was $68,000,     I    Global often made loans of hundreds of thousands or even millions of

   dollars. In one instance, I Global made an MCA of approximately $40 million to a single

   Califomia automobile dealership       -   a transaction Ruderman personally directed.


          33.     The Company also had far more difficulty collecting from merchants than it

   publicly disclosed. For example, in 2016, 210 of the approximately 1,166 MCAs 1 Global

   funded, a total of   18o%,   were the subject of collection lawsuits. Ln2017,328 of     I Global's 2,092
   MCAs, a total of l5Yo, were the subject of collection lawsuits.

           34.    Additionally, the Company's website told a far different story than the thorough

   underwriting process     I   Global touted to investors and elsewhere. The website stressed how

   simple and quick it was for merchants to obtain loans, noting that the MCAs were unsecured

   business cash advances. The website consistently promised merchants they could execute an

   MCA and "have your money in as little           as 24 hours."


          35.     The website also promised merchants that            "If you own a business and need cash
   fast, we're the company to call," going on to promise "We can provide the money you need

   without the hassles and hoops other financial institutions put you through . . . You do not have to

   come to us hat in hand with scads of paperwork proving your credit worthiness only to have your

   application denied. Ile Jund 90o,6 of the businesses that apply without basing it on their credit

   scores . . . We have the resources and the commitment to get you that unsecured advancement

   you need immediately." Emphasis added.

          36.     Through April 2018,         I   Global and   I West made about $348 million in merchant
   cash advances involving approximately 4,000             MCAs. As of that     same date, merchants had

   repaid approximately $241million of that amount. As of April 2018, due to collectability issues



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 21 of 45 PageID #:21

Case 0:18-cv-61991--BB *SEALED* Document 1 Entered on FLSD Docket OBl23l2OlB Page 11
                                        ot 34



    and the Defendants' misappropriation of investor funds,      I   Global owes investors at least $272

   million but only had $27.5 million in its bank accounts. I Global does not currently have enough

   funds to repay investors and filed for bankruptcy in July 2018.

                     V. I GLOBAL'S SOLICITATION            OF INVESTOR FUNDS

                                   A. The Network Of Sales Asents
            37. I Global lunded its MCA business and its operations almost entirely with money
   from investors, whom the Company ret'erred to altemately as "Lenders" or "Syndicate Partners."

   The only non-investor source   of funds for I Global came from a $10 million line of credit          the

   Company obtained tiom a hedge lund in 2016, from which               it drew down $9.5 million      over

   several months    in 2016 and 2017 to make MCAs at the direction of the hedge fund.                 The

   remainder   of I Global's MCA business derived entirely from investors' contributions.

            38. I Global found its investors through a second network of sales agents consisting
   in large part of registered and unregistered investment advisers and former (and in some           cases

   barred) brokers. The Company had dozens of sales agents, to whom it paid commissions usually

   ranging from.T5Yoto 3oh of the amount of investor funds they brought to          I Global.

            39.    For example, many sales agents received       3%o   of every new investment     arnount

   they brought in to the Company-      If the investment rolled     over into another term, most sales

   agents received an additional .75o/o.    In addition, some sales agents who brought other sales

   agents into the Company received an additional .75oh         of every arnount their recruited      sales

   agents   sold. Through April 2018, I Global paid sales agents nearly $9 million in commissions

   lbr getting investors to put money into I Global.

            40.    Sales agents signed an   Alfiliate Agreement with      I   Global outlining their rights

   and responsibilities in, and compensation tbr, selling the   I Global investment.     Ruderman signed

   at least two of these Alfiliate Agreements on behalf of the Company, allowing sales agents to

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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 22 of 45 PageID #:22

Case 0:l-8-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OBlz3lZOtB Page 12
                                        of 34



    market the    I   Global investment. The Agreements specified that         I    Global had to provide or

    approve all marketing materials the sales agents provided to prospective investors. In the

    Agreements and in meetings and telephone calls, 1 Global stressed that its minimum investment

    amount was $25,000, and that the investment opportunity was for                    a limited   number of

    sophisticated investors.

            41.       In practice, however, 1 Global placed no restrictions on who sales agents could

    solicit to invest in the Company, and frequently waived the $25,000 minimum investment

   requirement. Sales agents regularly solicited large numbers of their existing clients to invest. In

   short, the Company accepted money from any and all investors the sales agents could             find. As I

   Global's owner, Chairman, and CEO, Ruderman substantially participated in the offer and sale

   of 1 Global's unregistered securities to the investing public             and paying transaction-based

   compensation to the sales agents by:    (l) hiring sales agents; (2) attending due diligence     meetings

   with sales agents; (3) executing at least two Affiliate Agreements; and (4) directing I Global to

   pay the sales agents' commissions.

           42.        From February 2014 through April 2018, 1 Global received at least $287 million

   from 3,400 investors located in at least 25 states, with at least 100 investors each located in

   California, Florida, Illinois, Ohio, and Tennessee. More than one-third of the money came from

   those who invested through     IRAs. In the months after April 2018, I Global continued to receive

   millions of dollars from investors. The funds            I   Global raised were commingled or pooled

   together into one or more of    I Global's   bank accounts.

                                B. I Global's    Sales And      Marketins Efforts

           43. I Global regularly provided sales materials to its agents for use in marketing the
   investment. Those materials included a list of Frequently Asked Questions, a history of the



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 23 of 45 PageID #:23
Case 0:18-cv-61991-BB *SEALED* Document 1 Entered on FLSD Docket OBl23l2OI8 Page 13
                                       of 34



    Company, and a description of both the MCA program and the investment process. Sales agents

   used the materials in soliciting clients to invest, attaching them to emails in at least one case and

   other times using the information in them when they spoke to prospective investors.

               44.       The marketing materials contained the statements about the purportedly rigorous

   MCA loan approval and repayment process described earlier in this Complaint. In addition,                  the

   marketing materials consistently touted            I Global's alleged consistently high retums for investors.

   The Frequently Asked Questions claimed                  I   Global investors had averaged "hi$t single digit"

   and "low double digit" annual retums.

               45.       In addition,   I Global sent copies of actual monthly     investor account statements to

   sales agents to show investors. Those account statements showed returns ranging from 8oZ to

   lToh a year. Starting in January 2018,            I   Global changed its marketing materials to tell investors

   that they would earn a guaranteed minimum of 3% a yer, with the possibility of much higher

   retums.

              46.        The marketing materials, including the Frequently Asked Questions, also stated

   that   I   Global collected an average of $1.30 to $1.35 or $1.40 on each dollar it advanced in an

   MCA. This           was the means by which    I   Global and investors both purportedly made a profit.

              47   -     Using this information, sales agents usually told investors 1 Global could earn

   them high single digit to low double digit returns a year, and at least one sales agent created his

   own promotional flyer based on the Company's information emphasizing these retums. Both the

   Company and sales agents stressed that                I Global offered better retums than fixed instruments
   such as amuities. and was a safe, short-term altemative to more risky stock market investments.

              48.       Both sales agents and investors were attracted by these allegedly high profits,

   with many investors deciding to send money on the basis of them. For example, based on the



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 24 of 45 PageID #:24

Case 0:18-cv-61991-BB *SEALED* Document                    1
                                           Entered on FLSD Docket OBl23l2O18 Page L4
                                       of 34



    prornised high returns, one investor gave almost $1 million fiom a          40lK retirement plan to        1




    Global for MCAs. Another investor invested $135,000 after his sales agent showed him one of

   the sample client statements that reflected double digit arurual returns. That same investor sent in

   another approximately $150,000            in the ensuing months based on receiving his own monthly

    account statements showing annual returns           of at least 870. Still another investor contributed

    approximately      20o/o   of her net worth in two investments in September 2017 and May 2018 based

    on the promised high rates of return and the profits being shown on her monthly account

    statements.

            49.        Although 1 Global told sales agents and investors that it was not selling securities

    because the notes      it   gave to investors were allegedly only for nine months, at least one early

    version of the Company's marketing materials called the opportunity to put money into             I   Global

    an investment. The cover read "Putting cash to work for merchants while eaming high returns

    on your investment." Many investors wrote the word "investment" in the memo line of their

    checks, and   I    Global's marketing materials touted the Company as an investment alternative to

    annuities and stocks.         At   least one sales agent repeatedly told clients   in emails that he was

    offering them an investment in I Global.

                                       C. The Memorandum Of Indebtedness

           50.         For the vast majority of the four-plus years I Global offered and sold its

   investment,    it   used an instrument entitled a Memorandum       of Indebtedness ("MOI")    as the note

   or contract between the Company and investors.

           51.         The MOI termed the investor a "Lender," and identified the Company as the

   "Borrower." The MOI specifically stated that an investor was providing money to               I   Global so

   fte Company could expand its business activities, which it termed the "Covered Activities." The



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 25 of 45 PageID #:25
Case 0:18-cv-61-991-BB *SEALED* Document 1 Entered on FLSD Docket 08l23l2OLB Page 15
                                        ot 34



    only specific Covered Activiry identified in the MOI was the MCAs. And the only use of

    investor money the Company identified             in its marketing materials was the MCAs. After                1




   Global received investor funds,      it   pooled and commingled them together in non-segregated                  1




   Global bank accounts.

          52.     While the MOI stated that it was a nine-month note, for most of the time 1 Global

   raised money from investors, the MOI also stated the note would automatically roll over into a

   new nine-month term unless the investor expressly informed the Company in writing at least 30

   days before the end of the nine months that he or she did not want the note to roll over.

          53.     For a brief period in early 2018,            I   Global changed the MOI to provide that the

   note would mature after nine months unless an investor specifically informed the Company that

   he or she wanted to renew the investment. However,                 I   Global reinstated the automalic rollover

   provision about two months later as a result of the "paperwork nightmare" the revised opt-in

   procedure was causing.

          54. In fact, the overwhelming                majority of investors allowed their investments to

   automatically roll over. One sales agent estimated only six to eight of the hundreds of investors

   he solicited redeemed their investments after nine months. Company bank records show that                       as


   of April 30, 2018, investors had sent more than $287 million to                   I   Global, but   I   Global had

   returned only about $15 million of those funds through redemptions or other payments.

          55.    Even     if   an investor redeemed his or her investment after nine months, the note

   extended beyond nine months because              it took I Global several         months to fully pay out an

   investor's principal and interest.        I   Global called this period '1he unwinding" and "the grace

   period" in the MOIs.

          56.    The unwinding period was caused by the way                     I Global used investor money to


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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 26 of 45 PageID #:26

Case 0:18-cv-61991-BB *SEALED* Document                     1
                                           Entered on FLSD Docket 08l23l2ot9 Page 16
                                       ot 34



    fund MCAs. Rather than use investor funds on a single MCA or a small number of MCAs, the

    Company gave each investor a small, fiactionalized interest              in up to hundreds of MCAs. A

    Company computer system would assign the investor's funds automatically, based on the

    amount of MCAs that came in daily in the weeks following an investment. Under this system,

    one MCA would be funded with dozens or even hundreds of investors' funds pooled together.

                57   .   Using this process often resulted in the Company taking months to place all of an

    investor's funds into MCAs. Thus, if an investor elected to redeem his or her investrnent after

    nine months, it could take months after that for the merchants who received the investor's money

    to fully repay the MCAs. Often the Company would not generate enough money from                            the

    MCAs to fully pay redeeming investors, forcing the Company to use new investor funds to pay

   off redeeming investors.

               58. I Global did not pay investors           the interest or the increase in valuation of their

   portfolio the Company told them they were earning until the investor cashed out some or all of

   their investment. Although          I   Global sent investors monthly account statements purporting to

   show each investor's account credited with the interest the investor had eamed on MCA

   repayments, investors did not receive those payments right                away. Rather,    I   Global simply

   commingled all those investor funds into its various bemk accounts and frequently reinvested the

   investor money into new MCAs. This also allowed              I Global   to misappropriate investor funds.

               59. I Global eventually memorialized           the unwinding period into specific timetables at

   the beginning of 2018. It informed investors through marketing materials sent to sales agents

   that   if   an investor who redeemed had placed less than $250,000          with I Global, he or   she would

   be fully repaid       in l2 months, three months after   the end of the nine-month   term. For investments

   of greater than $250.000, the repayment would take six additional months, making the MOI a l5-



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 27 of 45 PageID #:27

Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket 0812312018 Page                                   1-7
                                       ot 34



    month note.

           60.      Another key provision of the MOI provided that            it   was within   I   Global's sole

    discretion how to use investor money to make MCA loans. In fact, investors had no say in how

    I Global   used their money. Investors could not and did not manage their         MCA loan portfolios; it

    was solely up to     I   Global whether and when to use an investor's money to fund MCAs and

   which MCAs to fund. The success of the investment and whether an investor earned profits was

   solely dependent on       I Global's decisions on MCA funding and other uses of funds, as well as
   repayment and collection efforts.

           61.      The MOI contained a paragraph stating the investor was sophisticated and was

   "qualified," meaning he or she had a certain income level or net worth. However, I Global never

   enforced this provision, did not restrict who sales agents could offer the investments to, and

   accepted investments from anyone who wanted to invest, regardless of their net worth, income,

   or sophistication.

          62.       Finally, the MOI disclosed      I Global would charge investors       in two ways. The

   first was a l3o/o management fee that      I Global would take from the amount collected from MCA
   repayments. The second way            I   Global said    it   would charge investors was to have them

   reimburse the Company the finders' fees         it paid to third    parties for finding merchants to take

   MCAs. The MOI contained only those two ways I Global could charge investors. However, in

   truth I Global took far greater amounts from investor funds to pay its operating expenses, and for

   its misappropriation to Ruderman and his related businesses.

                VI. MISREPRESENTATIONS AND OMISSIONS TO INVESTORS
                               A. False Claims About       Use Of Investor Funds

          63.      I   Global f-alsely represented to investors on its rvebsite, in its marketing materials,



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 28 of 45 PageID #:28
Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket 08l23l2OLB Page 18
                                       of 34



   and in the MOIs that     it would   use their money        to fund MCAs.    I   Global representatives also

    made these same false statements to sales agents in meetings to pitch the         MOI investment.

           64.     In reality, I Global used a substantial arnount of investors' funds for           purposes

   other than making MCAs. First,         I    Global used significant investor funds on the Company's

   operations.   I Global spent approximately      $53 million in operating expenses through      April20l8.

   Because investor funds were the sole source          of I Global's money, the Company      necessarily had

   to use investor funds to pay operating expenses.

           65.     However, the total investor funds available         to I    Global to use fbr operating

   expenses from the      two ways it could collect money from investors. as described more fully

   below, was only about $46.6      million. Thus, 1 Global spent about $6.4 million more in investor

   funds on operating expenses than it told investors it would.

           66.     Ruderman also authorized         I   Global to spend another $50 million of investor

   money to purchase $60 million of bad credit card debt from an entity called Travis Portfolio. I

   Global began making the payments for this purchase on September 28,2017. The $50 million

   represented about l6% of all investor funds 1 Global raised through April2018.

           67.     Buying the credit card debt was not an MCA, and thus not an allowed use of

   investor funds. Travis Portfolio was not using the money to fund specific business operations            as


   I Global's   marketing materials and website indicated MCAs were           for.   Furthermore, because the

   credit card debt was already considered bad debt, this was a very risky investment and the

   repayment time was far longer than the 4-to-12 months for MCAs that 1 Global advertised. In

   fact, Travis Portfolio collected the credit card debt so slowly that    it could     have taken that entity


   fottr years to repay I Global the entire amount. This slorv repayment impacted investors' ability

   to make a profit and   I Global's ability   to fund its MCA business and repay investors.



                                                         l8
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 29 of 45 PageID #:29

Case 0:18-cv-61991-BB *SEALED* Document 1- Entered on FLSD Docket OBl23lzOtB Page 19
                                       ot 34



              68.   Last,   I   Global, authorized and directed by Ruderman, misappropriated at least

    $28 million in investor funds to pay Ruderman personally as well as several companies in which

    he or his family members had a direct interest. This included, as described more                       fully below,

    money to help fund a family vacation to Greece, monthly payments for a Mercedes Benz

   Ruderman leased, his monthly American Express credit card                     bill, payments for Ruderman's chef

   and housekeeper, and $4          million to his fzrmily trust.

              69. It also included more than $20 million                     payments over several years     to Bright

   Smile Financing and Ganador, companies that funded consumer and individual loans that had

   nothing to do with MCAs, and which Ruderman either owned outright or partially owned

   through Trusts he controlled. The first payment by               I   Global to Bright Smile Financing occurred

   on May 6,2017, while         I   Global made its first payment to Ganador on April 28,2016.

              70.   The misappropriation also included a                $l   million payment on January 16,2018

   from   I   Global to BRR Block, a company owned by one of Ruderman's sons that also had

   nothing to do with       MCAs. None of the payments was disclosed in I Global's                          marketing

   materials or the MOIs, and these payments led directly to the shortage of investor funds.

              71.   Investors said they would not have invested                  in I Global's MCA     program, and

   sales agents said they would not have solicited investors,                    if   they had known   I   Global was

   misrepresenting how it used investor funds.

          B.   False Claims About Fees And Exnenses                 I   Global Could Take From Investors

              72.   As previously described,         I   Global disclosed one fee and one expense it could take

   from investors in the MOIs. The first was a management fee of l3oh of merchants' MCA

   repayments. Through April 2018,              I   Global's banli records show it collected 5240 million in

   MCA repayments.          I   West,    I   Global's sister company, collected an additional              Sl million.


                                                              t9
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 30 of 45 PageID #:30

Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OB|23|2OIB Page 20
                                       ol 34



    Furthermore, the Company collected about $2.1 million from Travis Portfolio, for a total                   of

   $243.1million in collections. Taking l3o/" of that total,        I   Global could have taken a maximum

   of $31.6 million in management fees fiom those repayments through April 2018.

           73.     The expense    I   Global told investors about in the MOI was the finder's fees it was

   paying third parties to find merchants to enter into MCAs.              I   Global paid those third parties

   approximately $15 million in fees through April 2018. Thus, the maximum amount of fees and

   expenses   I Global   could have taken from investors through April 201 8 was only $46.6 million.

           74.    However, through April 2018, Ruderman and              I Global actually used about $81.3
   million in investor funds (not including the $50 million         I Global spent on the Travis Portfolio
   deal). This consisted of $53 million in operating              expenses, and       at least $28 million in
   misappropriated funds sent     to Ruderman and numerous Ruderman-related entities                (described

   below). Thus, the       statements   that   I   Global would take     a     l3%o management fee and get

   reimbursed for only one expense from investor funds were false.

          75.     Ruderman knew          I   Global had used these excess investor funds because he

   personally authorized most,    if not all, of the $28 million in misappropriated          funds and closely

   monitored the Company's finances, sometimes receiving daily reports.

                                 C.    False Monthlv Account Statements

          76. I Global provided every investor              with a monthly account statement that showed

   all of the individual MCAs in which an investor's money was spent             -   frequently numbcring into

   the hundreds of contracts. The monthly statements at first showed the individual merchants who

   received each MCA, then were changed to show only contract numbers, then changed again to

   show only thc typc of busincss that had reccived cach        MCA. Ruderman ordered         these changes.

          77.     Early versions of the account statements addcd up thc dollar amount in each MCA



                                                       20
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 31 of 45 PageID #:31
Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OBl23l2OL8 Page 21
                                       ot 34



   to reflect "total net current account receivables"         -   i.e.. how much each investor could expect to

   receive in repayment from the outstanding MCAs. Below that figure, lhe account statement

   contained a total alternatively called "cash not yet deployed," "cash to be deployed," or "cash for

   future receivables." Regardless of the terminology used, the figure represented the amount of the

   investment that     I Global had not yet put into MCAs and was purportedly sitting in I Global's
   bank accounts available for MCA funding.

           78.       The early versions of the account statement added up the two totals to represent

   what the investor's portfolio was then purportedly worth. Investors could plainly see on these

   monthly statements how much their investment had allegedly increased in value, which directly

   correlated to the rate of return each investor was allegedly earning. In addition, on the first page

   of each monthly statement,         I   Global expressly told investors the value of their portfolio, the

   increase     in the valuation of their po(folio     since they invested, and what rate         of return their

   investment had eamed to date.

           79.       Ruderman received, reviewed, and approved the client statements before             I   Global

   sent them to investors. He also received a monthly report tiom the Company's financial analysts

   showing the total amounts from all investors loaned to merchants and the total cash allegedly

   available from investors irt   I   Global's bank accounts. The Company's Chief Financial Officer

   signed the account slatements, and            its Director of Business Development sent them               out.

   However, Ruderman had to approve sending out the statements before they could be given to

   investors-

           80.       Starting no later than October 2017, the monthly account statements were false

   because they misrepresented the amount          of "cash not yet deployed" available in    I   Global's bank

   accounts on every investor's account statement. That month, due in large part to the Ruderrnan-



                                                         21
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 32 of 45 PageID #:32

Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OBl23l2OtB Page 22
                                       ot 34



    authorized misappropriation and misuse        of investor funds, the company's financial         analysts

    discovered that the total   of   "cash not yet deployed" on         all the account statements       was

    approximately $23 million higher than the actual cash in     I Global's bank accounts.

           81.     As of October 31,2017, investor account statements in the aggregate showed

    approximately S89 million in "cash not yet deployed." Yet         I Global's      bank accounts held only

    approximately $65.7 million      in   cash, a difference   of $23.3 million. Thus, every         account

    statement showed a false amount of "cash not yet deployed." Because that amount was false, the

    total value of each investor's po(folio, the increase in the valuation since they had invested, and

   the rate of return each account statement showed for each investor were all overstated.

           82.     When tlnancial analysts brought this cash shortfall to Ruderman's attention, he

   falsely claimed they did not include all the Company's bank accounts, and his only action was to

   order the "total net current account receivables" and "cash not yet deployed" lines removed from

   future account statements so investors could not easily tell how much of their investment

   remained in cash or how their total portfolio value was determined.

           83.    Despite Ruderman's attempt to hide the cash shortfall from investors, the monthly

   account statements that he reviewed and approved continued to be false every month because the

   cash shortage continued every   month. Despite knowing that the "cash not yet deployed" number

   was inaccurate, he continued to use overstated amounts        of   cash   to overstate the total value of

   investors'portfolios, the increase in the valuation of investors'portfolios, and the investors'rates

   of return on all subsequent monthly account statements.

           84.    The cash shortfall not only continued, but increased over           time. As of November

   30,2017, the combination of all investors'account statements showed            I   Global should have had

   approximately $100.3 million in its bank accounts as "cash not yet deployed." Yet the bank



                                                     22
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 33 of 45 PageID #:33

Case 0:l-B-cv-61991-BB *SEALED" Document l- Entered on FLSD Docket OBl23l20LB Page 23
                                        ot 34



   accounts held only approximately $75.5 million, a difference of $24.8 million. Thus the rates            of

   retum, the value of the portfolio, and the increase in valuation of the portfolio since inception for

   each investor on each monthly account statement were overstated.

            85.       For December 2017, when according to the total of all monthly statements I

   Global should have had approximately $97.7 million in "cash not yet deployed" in its bank

   accounts, the Company had only approximately $72.4 million            in its   accounts, a difference    of

   525.3   million.   So again the rates of return and other financial metrics described above were false

   for each investor.

            86.       This pattern continued through at least June 2018, when at month's end the

   combination     of all investor account statements showed the Company                    should have had

   approximately $70 million in its bank accounts, while the accounts held only about $20 million,

   a diflbrence   of $50 million. As a result, the rates of return and other financial metrics described

   above were false on each investor's account statement.

            87.       Investors receiving these account statements often based their decision to allow

   their investment to automatically roll over on the profits and rates of return        I Global represented
   they were making. Investors said they would not have invested with             I   Global, and sales agents

   said they would not have solicited investors,    if they had known 1 Global was misrepresenting         the

   amount of investor cash it had on hand and the rates of return investors were eaming.

                              D.   False Claims About Daszkal Bolton's       Work

           88.        Each investor's monthly account statement falsely claimed that "Our independent

   audit firm, Daszkal Bolton L.L.P., has endorsed and agrees with the rate of return formula."

   Emphasis in original. However, Daszkal Bolton never audited           I   Global's financial statements,

   and never endorsed or agreed      with I Global's rale of return formula.



                                                      23
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 34 of 45 PageID #:34

Case 0:18-cv-61991-BB *SEALED* Document l- Entered on FLSD Docket OBl23l201B Page 24
                                       of 34



             89,        While I Global did hire Daszkal Bolton, the firm's work was limited to drafting       a


    set   of agrecd-upon procedures for evaluating investors' accounts- Furthermore, the audit firm

   stopped doing work         for I Global after 2016. Thus, every account statement containing             the

   representation about Daszkal Bolton was false. Investors said they would not have invested              in I

   Global, and sales agents said they would not have solicited investors,      if   they had known   I   Global

   was misrepresenting the work Daszkal Bolton performed           for I Global.

             90.    In addition to misrepresenting Daszkal Bolton's status on the monthly account

   statements, numerous versions          of 1 Global's   Frequently Asked Questions provided to sales

   agents and      in   some cases   to   investors stated that   "An external accounting firm       validates

   [investor] loan balances quarterly."

             91.    This statement was also false because neither Daszkal Bolton nor any other

   external accounting firm ever validated the amounts listed on investor account statements or any

   other document showing the amounts in an investor portfolio.

             92.    Investors said they would not have invested        in I Global,   and sales agents said

   they would not have solicited investors,      if they had known I Global was falsely representing        the

   work Daszkal Bolton performed for the Company.

                                   E. Misappronriation Of Investor Funds
             93.    Beginning      no later than 2016,       Ruderman regularly instructed       I       Global

   accountants and other employees to transfer investor funds to benefit himself, his family, and

   other close acquaintances, either directly or through entities they owned. When one accountant

   repeatedly questioned these transfers as improper, Ruderman told the accountant 1 Global was

   his company and he could do what he wanted with its money.

             94.    As of June 30, 2018, 1 Global at Ruderman's direction had transferred about



                                                       24
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 35 of 45 PageID #:35

Case 0:18-cv-61991-BB *SEALED* Document 1 Entered on FLSD Docket O8l23l2OLB Page 25
                                       ot 34



   $15.3 million to Bright Smile Financing, a company that loaned individuals money for cosmetic

   dental procedures. 'fhere was no agreement between               I    Global investors and Bright Smile

   Financing for 1 Global to provide that funding, and      I   Global investors do not have a documented

   ownership interest in Bright Smile Financing. Bright Smile Financing provided no consideration

   or services in exchange for the money. Corporate records show Bright Smile Financing is 100%

   owned by Ruderman through the Bright Smile Trust.

            95.     Also as of June 30, 2018,      I   Global had sent approximately $5.6 million to

   Ganador, a consumer/payday loan service, at Ruderman's               direction.   I   Global investors do not

   have a documented ownership interest in Ganador, but the Ruderman Family Trust owns 50o/o                     of

   the   frrm. Ganador provided no consideration or services for the $5.6 million.

            96.     Ruderman authorized       or ordered I Global to send investor funds to family
   members as     well. For example, on January 10, 2018, one of Ruderman's              sons incorporated BRR

   Block. Six     days later,   I Global   funded BRR Block with        $l million of investor funds for no
   consideration or services.

            97.      Ruderman also had more than $4 million        of I Global investor money           sent to the

   Ruderman Family Trust, of which his wife and children are beneficiaries. Ruderman had the

   Company pay the Trust approximately $81,283 a month (slightly less than                 $l million   a year) in

   investor funds, purportedly to compensate Ruderman for his interest in entities that had almost

   nothing to do    with I Global's business. The last of these payments occurred on July 26,2018,

   one day before    I   Global filed fbr bankruptcy. The Trust provided no services or consideration

   for the money.

            98. I Global paid Ruderman's          current wife a $116,000 annual salary, although she

   had no listed job with the Company and no office or desk there.           I   Global employees never saw



                                                       25
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 36 of 45 PageID #:36

Case 0:18-cv-61991-BB "SEALED* Document l- Entered on FLSD Docket O8l23l2OL8 Page 26
                                       of 34



   her do any work for the Company. In addition, Ruderman received a $240,000 annual salary.

           99.     Ruderman's pilfering      of investor funds did not stop there. He used significant

   amounts to fund a lavish lifestyle that included:

       r   Monthly lease payments for a Mercedes Benz;

       .   Payment for a luxury family vacation to Greece;

       o   Payments to a housekeeper and a chef;

       o   Monthly payments on a personal American Express credit card and a Bank of America

           credit card;

       .   Payment for his son's auto insurance;

       o   Payment to a company where his wife's sister was listed as the manager; and

       r   Payments to his ex-wife.

           100.    None of these payments to Ruderman and related entities were disclosed to

   investors, and the fleecing   of investor funds by Ruderman from        I   Global directly inhibited I

   Global's ability to make MCA loans and placed investor funds at risk.

                                      VII. CLAIMS      FOR RELIEF

                                                  COUNT    I
                     Violations Of Sections 5(a) And 5(c) Of The Securities Act

           101. The       Commission repeats and realleges Paragraphs            I   through 100   of   this

   Complaint as if fully set forth herein.

           102.   No registration statement was filed or in effect with the Commission pursuant to

   the Securities Act with respect to the securities issued by         I   Global as described in this

   Complaint. and no exemption from registration existed with respect to those securities.

           103.   From no later than February 2014 through July 27,2018,         I Global and Ruderman,


                                                     26
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 37 of 45 PageID #:37

Case 0:18-cv-61991-BB *SEALED* Document                    1
                                           Entered on FLSD Docket OBl23l2OL8 Page 27
                                       of 34



    directly and indirectly:

            (a)        rnade use of any means or instruments of transportation or corrununication in
                       interstate cornmerce or of the mails to sell securities, through the use or medium
                       of a prospectus or otherwise;

            (b)        carried or caused to be carried securities through the mails or in interstate
                       commerce, by any means or instruments of transportation, for the purpose of sale
                       or delivery after sale; or

            (c)        made use of any means or instruments of transportation or communication in
                       interstate commerce or of the mails to offer to sell or offer to buy through the use
                       of medium of any prospectus or otherwise any security,

    without a registration statement having been filed or being in effect with the Commission as to

    such securities.

            104.       By reason of the foregoing   I   Global and Ruderman violated, and unless enjoined,

   are reasonably likely to continue to violate, Sections 5(a) and 5(c) of the Securities Act,            15


   U.S.C. $$ 77e(a) and77e(c).

                                                    COUNT      II
                              Violations Of Section 17(aXl) Of The Securities Act

            105. The Commission repeats and                realleges Paragraphs   I   through 100   of   this

   Complaint as    if fully   set forth herein.

            106.    From no later than February 2014 through July 27,2018,         I Global and Ruderman,

   in the offer or sale of securities by use of any means or instruments of transportation or
   communication        in interstate commerce or by use of the mails, directly or indirectly, employed

   devices, schemes or artifices to defraud.

            107.    By reason of the foregoing, I Global and Ruderman violated, and unless enjoined,

   are reasonably likely to continue to violate, Section        l7(a)(l) of the Securities Act, l5 U.S.C.   (i


   77q(a)(t).
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 38 of 45 PageID #:38

Case 0:18-cv-61991-BB *SEALED* Document               l-
                                           Entered on FLSD Docket OB|23|2OLB Page 28
                                       of 34



                                                  COUNT    III
                          Violations Of Section 17(a)(2) Of The Securities Act

            108. The     Commission repeats and realleges Paragraphs             I    through 100   of   this

    Complaint as if fully set forth herein.

            109.   From no later than February 2014 through July 27,2018,         I   Global and Ruderman,

    in the offer or sale of securities by any use of any means or instruments of transporlation or

    communication in interstate commerce or by use of the mails, directly or indirectly obtained

    money or property by means        of untrue   statements     of material facts and omissions to state
    material facts necessary in order to make the statements made, in the light of the circumstances

    under which they were made, not misleading.

            ll0. By reason of the foregoing, I            Global and Ruderman violated, and, unless

    enjoined, are reasonably likely to continue to violate, Section l7(a)(2) of the Securities Act, 15

   U.s.C. $ 77q(a)(2).

                                                  COUNT IV

                          Violations Of Section 17(aX3) Of The Securities Act

           1ll.    The Commission repeats and realleges Paragraphs               I    through 100   of   this

   Complaint as if fully set forth herein.

           ll2.    From no later than February 2014 through July 27,2018,1 Global and Ruderman,

   in the offer or sale of securities by use of any means or instruments of transportation                or

   communication in interstate commerce or by use of the mails, directly or indirectly, engaged in

   transactions, practices, or courses of business which operated or would have operated as a fraud

   or deceit upon the purchasers.

           113. By reason of the foregoing, I             Global and Ruderman violated, and, unless



                                                     28
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 39 of 45 PageID #:39

Case 0:18-cv-61991-BB *SEALED* Document 1 Entered on FLSD Docket OBl23l2O18 Page 29
                                       ot 34



   enjoined, are reasonably      likelyto continue to violate, Section l7(a)(3) of the Securities Act, l5

   U.S.C. $ 77q(aX3).

                                                   COUNT V

                   Violations Of Section l0(b) And Rule 10b-5(a) Of The Exchanee Act

            114. The       Commission repeats and realleges Paragraphs            I   through 100   of   this

   Complaint as     if fully set forth herein.

            115.     From no later than February 2014 through July 27,2018,        I Global and Ruderman,

   directly or indirectly, by the use of any means or instrumentality of interstate commerce, or of

   the mails, employed devices, schemes, or artifices to defraud in connection with the purchase or

   sale of securities.

            116. By       reason   of the foregoing, I Global and        Ruderman violated, and, unless

   enjoined, are reasonably likely to continue to violate, Section         l0(b) of the Exchange Act,     15


   U.S.C.   S   78j(b), and Exchange Act Rule 10b-5(a),      l7 C.F.R. $ 240.10b-5(a).

                                                 COUNT VI

                   Violations Of Section 10(b) And Rule 10b-5(b) Of The Exchanee Act

            ll7.     The Commission repeats and realleges Paragraphs              I   through 100   of   this

   Complaint as if fully set forth herein.

            ll8.     FromnolaterthanFebruary2014through July27,20l8, I GlobalandRuderman,

   directly or indirectly, by the use of any means or instrumentality of interstate commerce, or of

   the mails, made untrue statements of material facts or omitted to state material facts necessary in

   order to make the statements made, in the light of the circumstances under which they were

   made, not misleading.

            I19.     By reason of the foregoing,   I   Global violated, and, unless enjoined, is reasonably



                                                        29
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 40 of 45 PageID #:40
Case 0:18-cv-61991-BB "SEALED* Document 1 Entered on FLSD Docket OB|23|7OLB Page 30
                                       ot 34



    likely to continue to violate, Section l0(b) of the Exchange Act, 15 U.SC. $ 78j(b),                    and

    Exchange Act Rule l0b-5(b),         l7 C.F.R. $ 240.10b-5(b).

                                                     COUNT VII

                  Violations Of Section 10(b) And Rule 10b-5(c) Of The Exchanee Act

           124. The           Commission repeats and realleges Paragraphs           I   through 100    of   this

    Complaint as   if fully set forth herein.

           125. I      Global and Ruderman, directly or indirectly, by the use of any means or

    instrumentality of interstate commerce, or of the mails, engaged in acts, practices, and courses          of

    business which have operated,          or are now operating and u,ill     operate, as    a liaud upon   the

   purchasers of securities.

           126. By       reason     of the foregoing, I Global and Ruderman             violated, and, unless

   enjoined, are reasonably likely        to continue to violate, Section l0(b) of the Exchange Act         and

   Exchange Act Rule l0b-5(c),         l5 U.S.C.    $ 78j(b) and 17 C.F.R. $ 2a0.l0b-5(c).

                                                     COUNT     VIII
                      Aiding And Abetting I Global's Violations Of Section l0(b)
                               And Rule l0b-5 Of The Exchanse Act

                                                  (Against Ruderman)

           120. The           Commission repeats and realleges Paragraphs          1 through 100 of         this

   Complaint as    if fully   set forth herein.

           l2l.     From no later than February 2014 through July 27,2018,              I   Global. directly or

   indirectly, by the use of any means or instrumentality of interstate commerce, or of the mails,

   employed devices, schemes, or artifices to defiaud in connection with the purchase or sale                of

   securities; made untrue statements of material facts or omitted to state material facts necessary in

   order to make the statements made, in the light of the circumstances under which they were


                                                          30
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 41 of 45 PageID #:41

Case 0.18-cv-61991--BB *SEALED* Document 1 Entered on FLSD Docket OB|23|ZOLB Page 31
                                        of 34



    made, not misleading; or engaged                in   acts, practices, and courses      of   business which have

    operated, or are now operating and           will    operate, as a fraud upon the purchasers       of securities, in

    violation of Section 10(b) of the Exchange Act and Exchange Act Rule l0b-5(b), 15 U.S.C.                           $


    78j(b) and,t7 C.F.R. $ 240.1Ob-s(b).

           122.       Ruderman knowingly or recklessly substantially assisted 1 Global's violations                   of

    Section l0(b) and Rule l0b-5(b) of the Exchange Act.

           123.       By reason of the foregoing, Ruderman, directly or indirectly, violated, and, unless

   enjoined, is reasonably likely to continue to aid and abet violations                 of Section l0(b) and Rule

    l0b-5(b) of the Exchange Act, l5 U.S.C. $ 78j(b) and 17 C.F.R. $ 240.10b-5(b).

                                                          COUNT IX

                       Section 20(a) Of The Exchanee Act             - Control    Person   Liabilitv

                                                    (Against Ruderman)

           127   .    The Commission repeats and realleges Paragraphs                      I    through 100    of   this

   Complaint as      if fully   set forth herein.

           128.       From no later than February 2014 through July 27,2018, Ruderrnan was, directly

   or indirectly, a control person of 1 Global for purposes of Section 20(a) of the Exchange Act, l5

   U.S.C. $ 78(a).

           129.       During that time, I Global violated Section 10(b) and Rule 10b-5 of the Exchange

   Act.

           130.       As a control person      of I Global, Ruderman      is   jointly and severally liable with    and

   to the same extent as        I   Global for its violations of Section l0(b) and Rule l0b-5 of the Exchange

   Act-

           131. By reason of the foregoing,                  Ruderman, directly and indirectly, violated, and,



                                                              31
      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 42 of 45 PageID #:42

Case 0:18-cv-61991-BB *SEALED* Document               1
                                           Entered on FLSD Docket 08123120L8 Page 32
                                       of 34



    unless enjoined, is reasonably   likely to continue to violate, Sections l0(b) and 20(a) and Rule

    l0b-5 of the Exchange Act, l5 U.S.C. $$ 78j(b) and 78t(a), and 17 C.F.R. $ 240.10b-5.

                                                 COUNT X

                           Violations Of Section l5(a) Of The Exchanse Act

            132. The Commission repeats and realleges            Paragraphs     I   through 100    of   this

    Complaint as if fully set forth herein.

            133.   From no later than February 2014 through July     27   , 2018, the Defendants, directly

    or indirectly, by the use of the mails or the means or instrumentalities of interstate commerce,

    while acting as or associating with a broker or dealer, effected transactions in, or induced or

    attempted to induce the purchase or sale     of securities, while they were not registered with     the

   Commission as a broker or dealer or when they were not associated with an entity registered with

   the Commission as a broker-dealer.

           134.    By reason of the foregoing, the Defendants, directly or indirectly, violated, and,

   unless enjoined, are reasonably    likely to continue to violate, Section l5(a)(l) of the Exchange

   Act, l5 U.S.C. $ 78o(a)(l).

                                    VIII.     REMEDIES REOUESTED

           WHEREFORE, the Commission respectfully requests that the Court find the

   Defendants committed the violations alleged, and:

                                     A. Permanent Iniunctive Relief
           Issue a Permanent Injunction restraining and enjoining: (1) 1 Global and Ruderman from

   violating Sections 5(a) and 5(c) and l7(a) of the Securities Act, and Sections 10(b) and 15(a)(l)

   and Rule l0b-5 of the Exchange Acl; (2) Ruderman from aiding and abetting                  I   Global's

   violations of Section lO(b) and Rule l0b-5 of the Exchange Act; and (3) Ruderman from



                                                     32
     Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 43 of 45 PageID #:43
Case 0:18-cv-61991-BB *SEALED* Document                   1
                                           Entered on FLSD Docket 08123120t8 Page 33
                                       ol 34



   violating Sections l0(b) and 20(a) and Rule l0b-5 of the Exchange Act.

                                              B. Disgorgement

          Issue an Order directing   I   Global, Ruderman, and all of the Relief Defendants to disgorge

   all ill-gotten gains, including prejudgment interest, resulting from the acts or courses of conduct

   alleged in this Complaint.

                                              C. Civil Penalties

          Issue an Order directing   I Global and Ruderman         to pay civil money penalties pursuant to

   Section 20(d) of the Securities Act and Section 2 I (d) of the Exchange Act.

                                              D.    Asset Freeze

          Issue an Order freezing the assets         of   Ruderman and Relief Defendants Bright Smile

   Financing, BRR Block, Digi South, Ganador Enterprises, Media Pay, Pay Now Direct, and the

   Ruderman Family Trust until further Order of this Court.

                                           E. Sworn Accounting

          Issue an Order directing Ruderman and Relief Defendants Bright Smile Financing, BRR

   Block, Digi South, Ganador Enterprises, Media Pay, Pay Now Direct, and the Ruderman Family

   Trust to provide a sworn accounting     ofall   proceeds received resulting from the acts or courses   of

   conduct alleged in this Complaint.

                                     F. Appointment Of A Receiver
          Appoint a Receiver over Relief Defendants Bright Smile Financing, Ganador Enterprises,

   BRR Block, Digi South, Media Pay, and Pay Now Direct.

                                         G. Records Preservation

          Issue an Order restraining and enjoining Ruderman and Relief Defendants Bright Smile

   Financing, BRR Block, Digi South, Ganador Enterprises, Media Pay. Pay Now Direct, and the



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      Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 44 of 45 PageID #:44

Case 0:l-8-cv-61991-BB *SEALED* Document             l-
                                             Entered on FLSD Docket OBl23l2OI8 Page 34
                                        ot 34



   Ruderman Family Trust from, directly or indirectly, destroying, mutilating, concealing, altering,

   disposing   of, or otherwise rendering illegible in any manner, any of the books, records,

   documents, correspondence, brochures, manuals, papers, ledgers, accounts, statements,

   obligations, files, and other property of or pertaining to all Defendants and Relief Defendants,

   wherever located and in whatever form, electronic or otherwise, that refer, reflect, or relate to the

   acts of courses of conduct alleged in this Complaint, until further Order of the Court.



                                                 Respectfully submitted,


   August 23,2018

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                                                   34
                           Case: 1:18-cv-06029 Document #: 1 Filed: 09/04/18 Page 45 of 45 PageID #:45

          Case 0:18-cv-61991-BB *SEALED* Document                                                                                         1-1          Entered on FLSD Docket OBl23l2O18 Page
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l.   (a)           PLAINTTFFS Securiries and Exchan                                                                                                                         NTS I      Global capital LLC et al.


     (   b)    County of Residence of First Lisred Plainti tT                                                         AUG23               20lSCountvof                              ot'F:rsl Ltsred Delbndanr Broward                                   county
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